                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                               Plaintiff,
       v.                                                             Case No. 07-CR-123

ROBERT HAMPTON, et al,

                               Defendants.


                                               ORDER


       On July 19, 2007, this court ordered that all Title III motions were to be filed no later than

October 29, 2007. (Docket No. 89.) On October 29, 2007, defendants Robert Wilson, (Defendant No.

15), and James Ewing, (Defendant No. 21), filed motions related to the government’s failure to provide

them with copies of recordings of certain intercepted telephone calls. Both defendants allege that they

have received compact disks labeled as containing co-defendant Darin Bowie’s telephone calls

intercepted between September 7, 2006, and October 6, 2006, but these compact disks actually contained

calls intercepted between October 7, 2006, and November 6, 2006. (Docket Nos. 227, 229-2.) Both of

the defendants’ attorneys contacted the government’s attorneys regarding this problem and in response,

both again received compact disks labeled as containing the September 7 through October 6 phone calls,

but actually containing the October 7 through November 6 phone calls. Both of the defendants’ attorneys

have been unable to make further contact with counsel for the government to resolve this problem.

       Based upon the representations of defense counsel, the court will order that no later than

November 6, 2007, the government shall provide to counsel for Robert Wilson and James Ewing copies

of the recordings of the telephone calls intercepted from Darin Bowie’s telephone between September

7, 2006 and October 6, 2006. Then, no later than November 13, 2007, defendants Robert Wilson and

James Ewing may file additional pretrial motions related to this particular discovery. However, the court


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shall not accept any additional pretrial motion unless it is supported by a showing of good cause as to

why the motion could not have been filed by October 29, 2007.

       Robert Wilson also requests that the government provide any laboratory reports or other testing

documentation related to the controlled substances that were allegedly seized from his person. (Docket

No. 229.) His attorney has requested such reports from the government but has received no response to

his request. Under the circumstances, the court finds the efforts detailed by counsel are sufficient to

comply with Criminal L.R. 16.1(a). The information requested by Robert Wilson is discoverable pursuant

to Federal Rule of Criminal Procedure 16(a)(1)(F) and therefore, if such laboratory reports of other

testing documentation exists, the court will order the government shall provide the documents to counsel

for Robert Wilson no later than November 6, 2007.

       IT IS THEREFORE ORDERED that no later than November 6, 2007, the government shall

provide to counsel for Robert Wilson and James Ewing copies of the recordings of the telephone calls

intercepted from Darin Bowie’s telephone between September 7, 2006, and October 6, 2006.

       IT IS FURTHER ORDERED that no later than November 13, 2007, defendants Robert Wilson

and James Ewing, may file additional pretrial motions related to this additional discovery. However, the

court shall not accept any additional pretrial motion unless it is supported by a showing of good cause

as to why the motion could not have been filed by October 29, 2007.

       IT IS FURTHER ORDERED that no later than November 6, 2007, the government shall

provide to counsel for Robert Wilson copies of any laboratory reports or other testing documentation

relating to the testing of the controlled substances that form the basis for count twenty-three of the

indictment, if such documentation exists.

       Dated at Milwaukee, Wisconsin, this 31st day of October, 2007.

                                              BY THE COURT:

                                              s/Aaron E. Goodstein
                                              AARON E. GOODSTEIN
                                              U.S. Magistrate Judge

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